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 Fill in this information to identify the case:
 Debtor name        R. Hassell Builders, Inc.

 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS

 Case number        18-33619
 (if known)                                                                                                  Check if this is an
                                                                                                              amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                              04/16

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write the debtor's name and case number (if known).


 Part 1:        Income
1.   Gross revenue from business

        None

Identify the beginning and ending dates of the debtor's fiscal year,          Sources of revenue                            Gross revenue
which may be a calendar year                                                  Check all that apply.                         (before deductions
                                                                                                                            and exclusions


From the beginning of the                                                        Operating a business
                                From    10/01/2017      to   Filing date
fiscal year to filing date:                                                       Other
                                       MM / DD / YYYY                                                                                   $0.00

                                                                                 Operating a business
For prior year:                 From    10/01/2016      to     09/30/2017
                                       MM / DD / YYYY        MM / DD / YYYY      Other                                                  $0.00

                                                                                 Operating a business
For the year before that:       From    10/01/2015      to     09/30/2016
                                       MM / DD / YYYY        MM / DD / YYYY      Other                                                  $0.00

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
     lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                               Description of sources of revenue              Gross revenue
                                                                                                                              from each source
                                                                                                                              (before deductions
                                                                                                                              and exclusions
From the beginning of the
                                From    07/07/1905      to   Filing date       none
fiscal year to filing date:
                                       MM / DD / YYYY

For prior year:                 From    07/07/1904      to     07/06/1905
                                       MM / DD / YYYY        MM / DD / YYYY

For the year before that:       From    07/07/1903      to     07/06/1904
                                       MM / DD / YYYY        MM / DD / YYYY




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Debtor         R. Hassell Builders, Inc.                                                     Case number (if known)         18-33619
               Name


 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy
3.   Certain payments or transfers to creditors within 90 days before filing this case

     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days
     before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be
     adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.)


        None

      Creditor's name and address                                  Dates            Total amount or value        Reasons for payment or transfer
                                                                                                                 Check all that apply
3.1. None
                                                                                                                    Secured debt
      Creditor's name
                                                                                                                    Unsecured loan repayments
      Street
                                                                                                                    Suppliers or vendors
                                                                                                                    Services
                                                                                                                    Other
      City                              State    ZIP Code

4.   Payments or other transfers of property made within 1 year before filing this case that benefited any insider

     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
     guaranteed or co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
     $6,425. (This amount may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of
     adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor
     and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and
     any managing agent of the debtor. 11 U.S.C. § 101(31).


        None

      Insider's name and address                                   Dates            Total amount or value        Reasons for payment or transfer
4.1. none
      Insider's name

      Street




      City                              State    ZIP Code

      Relationship to debtor



5.   Repossessions, foreclosures, and returns

     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a
     creditor, sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in
     line 6.


        None

      Creditor's name and address                                  Description of the property                       Date              Value of property
5.1. None
      Creditor's name

      Street




      City                              State    ZIP Code




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Debtor            R. Hassell Builders, Inc.                                                      Case number (if known)      18-33619
                  Name

6.      Setoffs

        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from
        an account of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because
        the debtor owed a debt.


           None

Creditor's name and address                                   Description of the action creditor took                 Date action       Amount
                                                                                                                      was taken
None
Creditor's name

Street


                                                              Last 4 digits or account number: XXXX-
City                                State   ZIP Code


  Part 3:          Legal Actions or Assignments
7.      Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
        was involved in any capacity--within 1 year before filing this case.


           None

         Case title                             Nature of case                            Court or agency's name and address                Status of case
 7.1. Various-Incorporate all of R.             Incorporate all of the legal
                                                                                                                                               Pending
         Hassell Holding Companies,             proceedings of parent                     Name
         Inc.                                   Company The R. Hassell                                                                         On appeal
                                                Holding Companies, Inc.                   Street
                                                                                                                                               Concluded

         Case number

                                                                                          City                       State   ZIP Code

         Case title                             Nature of case                            Court or agency's name and address                Status of case
 7.2.    R. Hassell Builders, Inc v.            Contract of Hassell 2012 Jt               Texas Supreme Ct.
                                                                                                                                               Pending
         Texan Floor Service Ltd                Venture Partnership                       Name

                                                                                          201 W 14th St., Rm 104                               On appeal
                                                                                          Street
                                                                                                                                               Concluded
                                                                                          Austin, Tx 78701
         Case number
         18-0347
                                                                                          City                       State   ZIP Code

         Case title                             Nature of case                            Court or agency's name and address                Status of case
 7.3. R. Hassell & Co. et al v.        Declartory Judgment was sent Texas Ct of Appeals (Houston 1st)
                                                                                                                                               Pending
         Hassell Construction Co., Inc to arbritration (AAA case no.     Name
         et al                         01-14-0000-3178) out of case #    301 Fannin St., Rm 245                                                On appeal
                                       201361995 in the 125th            Street
                                                                                                                                               Concluded
                                       Judicial Dist Ct of Harris County Houston, Tx 77002
         Case number
         01-18-00546-CV
                                                                                          City                       State   ZIP Code




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Debtor       R. Hassell Builders, Inc.                                                Case number (if known)    18-33619
             Name

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.4. Hassell 2012 Joint Venture          Involuntary Bankruptcy                US Bankruptcy Ct. Southern Dist Tx-H
                                                                                                                              Pending
                                                                               Name

                                                                               515 Rusk St 4th flr                            On appeal
                                                                               Street
                                                                                                                              Concluded
                                                                               Houston, Tx 77002
      Case number
      18-31189
                                                                               City                     State   ZIP Code

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.5. Hassell 2012 Joint Venture          Involuntary Bankruptcy                US Bankruptcy Ct, South. Dist. Tx.-Hou
                                                                                                                              Pending
                                                                               Name

                                                                               515 Rusk St. 4th flr                           On appeal
                                                                               Street
                                                                                                                              Concluded

      Case number
      15-30781
                                                                               City                     State   ZIP Code

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.6. Hassell Construction Co. Inc        Rule 39 Notice of the absence         333rd Jud. Dist Ct of Harris County
                                                                                                                              Pending
      v. HCID 18, Springwoods            of parties needed for                 Name
      Realty et al                       adjudication pertaining to the        201 Caroline, 14th Flr                         On appeal
                                         Springwoods Project                   Street
                                                                                                                              Concluded
                                                                               Houston, Tx 77002
      Case number
      201684811
                                                                               City                     State   ZIP Code

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.7. R. Hassell & Co., et al v.          garnishment                           61st Judical Dt Ct of Harris County Tx
                                                                                                                              Pending
      CommunityBank of                                                         Name
      Texas,NA                                                                 201 Caroline, 14th Flr                         On appeal
                                                                               Street
                                                                                                                              Concluded
                                                                               Houston, Tx 77002
      Case number
      201361995A
                                                                               City                     State   ZIP Code

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.8. R. Hassell & Co., et al v.          garnishment                           61st Judical Dt Ct of Harris County Tx
                                                                                                                              Pending
      CommunityBank of                                                         Name
      Texas,NA                                                                 201 Caroline, 14th Flr                         On appeal
                                                                               Street
                                                                                                                              Concluded
                                                                               Houston, Tx 77002
      Case number
      201361995B
                                                                               City                     State   ZIP Code

      Case title                         Nature of case                        Court or agency's name and address          Status of case
7.9. HCCI Derivatively by &              Breach of Contract, quatum            Texas Ct of Appeals (Houston 1st Dist
                                                                                                                              Pending
      through Royce Hassell et al        meruit, unjust enrichment,            Name
      v. HCID 18, Springwood             fraud associated with the             301 Fannin St. Rm 245                          On appeal
      Realty                             Springwoods Porject                   Street
                                                                                                                              Concluded
                                                                               Houston, Tx 77002
      Case number
      01-17-00822-CV
                                                                               City                     State   ZIP Code




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Debtor        R. Hassell Builders, Inc.                                              Case number (if known)    18-33619
              Name

      Case title                          Nature of case                      Court or agency's name and address          Status of case
7.10. R. Hassell Holding Co Inc et        Malpractice, Fraud associated       Texas Court of Appeals (Houston 14th
                                                                                                                             Pending
      al v. Richard Rose et al            with concealed conflicts of         Name
                                          interest on Springwoods             301 Fannin Rm                                  On appeal
                                          Project                             Street
                                                                                                                             Concluded
                                                                              Houston, Tx 77002
      Case number
      14-17-00208-CV
                                                                              City                     State   ZIP Code

      Case title                          Nature of case                      Court or agency's name and address          Status of case
7.11. Hassell Construction Co., Inc Breach of Contract, Quantum               Texas Ct of Appeals (Houston 1st Dist
                                                                                                                             Pending
      v. H.C.I.D 18, SPringwoods          Meruit, Fraud on Springwoods        Name
      Realty                              Project                             301 Fannin Rm 245                              On appeal
                                                                              Street
                                                                                                                             Concluded
                                                                              Houston, Tx 77002
      Case number
      01-17-00154-CV
                                                                              City                     State   ZIP Code

      Case title                          Nature of case                      Court or agency's name and address          Status of case
7.12. Hassell Construction Co., Inc Intervenors                               133 Judical Dist. Ct of Harris County T
                                                                                                                             Pending
      v. Trunkline Gas Co., LLC et                                            Name
      al                                  Damages for drilling mud            201 Caroline, 11th Flr                         On appeal
                                          incident on Springwoods             Street
                                                                                                                             Concluded
                                          Project                             Houston, Tx 77066
      Case number
      201429648
                                                                              City                     State   ZIP Code

      Case title                          Nature of case                      Court or agency's name and address          Status of case
7.13. R. Hassell & Co., Inc et al v.      Removal Action of state court       US Bankruptcy Ct., Southern Dist-Hou
                                                                                                                             Pending
      Hassell Construction Co Inc         case to Bankruptcy Court            Name
      et al                                                                   515 Rusk St, 4th flr                           On appeal
                                                                              Street
                                                                                                                             Concluded
                                                                              Houston Tx 77002
      Case number
      18-03042
                                                                              City                     State   ZIP Code

      Case title                          Nature of case                      Court or agency's name and address          Status of case
7.14. In re: Royce & Silvia Hassell       Mandamus                            Texas Ct of Appeals (Houston 1st Dist
                                                                                                                             Pending
      et al                                                                   Name

                                                                              301 Fannin St., Rm 245                         On appeal
                                                                              Street
                                                                                                                             Concluded
                                                                              Houston, Tx 77002
      Case number
      01-14-00996-CV
                                                                              City                     State   ZIP Code

      Case title                          Nature of case                      Court or agency's name and address          Status of case
7.15. in re: R. Hassell & Co., Inc. et Mandamus                               Texas Ct of Appeals (Houston 1st Dist
                                                                                                                             Pending
      al                                                                      Name

                                                                              301 Fannin St. Rm 245                          On appeal
                                                                              Street
                                                                                                                             Concluded
                                                                              Houston, Tx 77002
      Case number
      01-14-00349-CV
                                                                              City                     State   ZIP Code




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Debtor            R. Hassell Builders, Inc.                                                        Case number (if known)       18-33619
                  Name

         Case title                               Nature of case                            Court or agency's name and address                Status of case
7.16. Demand for Arbritration                     Demand was made against          JAMS
                                                                                                                                                  Pending
                                                  Interface Consulting             Name
                                                  International, Inc with JAMS but 8401 N. Central Expressway,S.610                               On appeal
                                                  fee was never paid.              Street
                                                                                                                                                  Concluded
                                                                                            Dallas, TX 75225
         Case number

                                                                                            City                        State   ZIP Code

         Case title                               Nature of case                            Court or agency's name and address                Status of case
7.17. R. Hassell Holding/R Hassel                 Demand for investigation for
                                                                                                                                                  Pending
         & Co/R Hassell Builders                  defense, failure to defend, bad           Name
         Demand for Investigation                 faith and fraud against Liberty                                                                 On appeal
                                                  Mutual, Alliant Insurance, CHS            Street
                                                                                                                                                  Concluded
                                                  Surety, AIG INsurance
         Case number                              pertaining to Hassell 2012 Joint
                                                  Venture and Springwoods Joint
                                                  Venture                                   City                        State   ZIP Code

8.     Assignments and receivership

       List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
       hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None

Custodian's name and address                         Description of the property                               Value
None
Custodian's name
                                                     Case title                                                Court name and address
Street
                                                     None
                                                                                                               Name
                                                     Case number
                                                                                                               Street
City                          State   ZIP Code

                                                     Date of order or assignment
                                                                                                               City                        State   ZIP Code



  Part 4:          Certain Gifts and Charitable Contributions
9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the
       aggregate value of the gifts to that recipient is less than $1,000

           None

         Recipient's name and address                             Description of the gifts or contributions             Dates given         Value
 9.1. None
         Recipient's name

         Street




         City                            State   ZIP Code

         Recipient's relationship to debtor




Official Form 207                        Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
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Debtor           R. Hassell Builders, Inc.                                                Case number (if known)      18-33619
                 Name


 Part 5:           Certain Losses
10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

Description of the property lost and how           Amount of payments received for the loss                     Date of loss     Value of
the loss occurred                                  If you have received payments to cover the loss, for                          property lost
                                                   example, from insurance, government compensation, or
                                                   tort liability, list the total received.
                                                   List unpaid claims on Official Form 206A/B (Schedule A/B:
                                                   Assets -- Real and Personal Property).
None Known

 Part 6:           Certain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year
    before the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or
    restructuring, seeking bankruptcy relief, or filing a bankruptcy case.


          None

          Who was paid or who received the transfer?            If not money, describe the property           Dates               Total amount
                                                                transferred                                                       or value
 11.1. None

          Address


          Street




          City                        State   ZIP Code

          Email or website address



          Who made the payment, if not debtor?



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing
    of this case to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.


          None

Name of trust or device                                  Describe any property transferred                    Dates transfers     Total amount
                                                                                                              were made           or value
None

Trustee




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Debtor          R. Hassell Builders, Inc.                                                  Case number (if known)      18-33619
                Name

13. Transfers not already listed on this statement
    List any transfers of money or other property--by sale, trade, or any other means--made by the debtor or a person acting on behalf of the
    debtor within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or
    financial affairs. Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this
    statement.


         None

         Who received transfer?                                Description of property transferred              Date transfer      Total amount
                                                               or payments received or debts paid               was made           or value
                                                               in exchange

 13.1. None Known

         Address


         Street




         City                         State   ZIP Code

         Relationship to debtor



 Part 7:          Previous Locations
14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

         Does not apply


         Address                                                                                    Dates of occupancy

 14.1. 12512 Cutten Rd., Ste.A                                                                      From        2012               To   01/31/2018
         Street
         Houston, Tx. 77066

         City                                                 State     ZIP Code




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Debtor          R. Hassell Builders, Inc.                                                    Case number (if known)           18-33619
                Name


 Part 8:          Health Care Bankruptcies
15. Health Care bankruptcies

    Is the debtor primarily engaged in offering services and facilities for:

     diagnosing or treating injury, deformity, or disease, or

     providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to Part 9.
         Yes. Fill in the information below.

         Facility name and address                            Nature of the business operation, including                      If debtor provides meals
                                                              type of services the debtor provides                             and housing, number of
                                                                                                                               patients in debtor's care

 15.1. None
         Facility name
                                                              Location where patient records are maintained
                                                              (if different from facility address). If electronic, identify
         Street
                                                              any service provider.                                            How are records kept?
                                                                                                                               Check all that apply:

                                                                                                                                  Electronically
                                                                                                                                  Paper
         City                          State    ZIP Code


 Part 9:          Personally Identifiable Information
16. Does the debtor collect and retain personally identifiable information of customers?

         No.
         Yes. State the nature of the information collected and retained

                  Does the debtor have a privacy policy about that information?
                   No.
                   Yes.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or
    other pension or profit-sharing plan made available by the debtor as an employee benefit?

         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                No. Go to Part 10.
                Yes. Fill in below:




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Debtor            R. Hassell Builders, Inc.                                                    Case number (if known)    18-33619
                  Name


  Part 10:          Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit,
    closed, sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts, certificates of deposit, and shares in banks, credit unions, brokerage
    houses, cooperatives, associations, and other financial institutions.


           None

           Financial institution name and address                Last 4 digits of             Type of account      Date account       Last balance
                                                                 account number                                    was closed,        before closing
                                                                                                                   sold, moved,       or transfer
                                                                                                                   or transferred
 18.1. None
           Name
                                                                 XXXX-                           Checking
                                                                                                 Savings
           Street
                                                                                                 Money market
                                                                                                 Brokerage
                                                                                                 Other

           City                      State     ZIP Code

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before
    filing this case.

           None

Depository institution name and                           Names of anyone with access to it       Description of the contents           Does debtor
address                                                                                                                                 still have it?
None                                                                                                                                       No
Name                                                                                                                                        Yes
                                                          Address                                                                       
Street




City                        State   ZIP Code

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a
    building in which the debtor does business.

           None

Facility name and address                                 Names of anyone with access to it       Description of the contents           Does debtor
                                                                                                                                        still have it?
None                                                                                                                                       No
Name                                                                                                                                        Yes
                                                          Address                                                                       
Street




City                        State   ZIP Code




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Debtor         R. Hassell Builders, Inc.                                                    Case number (if known)     18-33619
               Name


  Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held
    in trust. Do not list leased or rented property.


          None

Owner's name and address                        Location of the property                       Description of the property          Value

None
Name


Street




City                      State   ZIP Code


  Part 12:        Details About Environmental Information
For the purpose of Part 12, the following definitions apply:

 Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless or
  the medium affected (air, land, water, or any other medium).


 Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
  formerly owned, operated, or utilized.

 Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
  similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law?
    Include settlements and orders.

          No
          Yes. Provide details below.

Case title                                    Court or agency name and address               Nature of the case                      Status of case
None
                                              Name
                                                                                                                                      Pending
                                                                                                                                      On appeal
                                              Street                                                                                  Concluded
Case number

                                              City                       State   ZIP Code




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Debtor          R. Hassell Builders, Inc.                                                Case number (if known)     18-33619
                Name

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in
    violation of an environmental law?

         No
         Yes. Provide details below.

24. Has the debtor notified any govermental unit of any release of hazardous material?

         No
         Yes. Provide details below.

 Part 13:         Details About the Debtor's Business or Connections to Any Business
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this
    case. Include this information even if already listed in the Schedules.

         None

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.1. R. Hassell Holding Companies, Inc.             holding company for R. Hassell             Do not include Social Security number or ITIN.
         Name                                         Builders and R. Hassell & Co.
         12807 Haynes Rd., Bldg. C                                                               EIN: 7      6 – 0      6     5    7    7       3   3
         Street
         Houston Tx. 77066                                                                       Dates business existed

                                                                                                 From        1991           To    current
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.2. R. Hassell & Co., Inc.                         Construction                               Do not include Social Security number or ITIN.
         Name
         12807 Haynes Rd., Bldg. C                                                               EIN: 7      6 – 0      3     4    6    4       9   4
         Street
         Houston, Tx 77066                                                                       Dates business existed

                                                                                                 From        1991           To    present
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.3. Springwoods Joint Venture                                                                 Do not include Social Security number or ITIN.
         Name
                                                                                                 EIN:           –
         Street
                                                                                                 Dates business existed

                                                                                                 From                       To
         City                    State   ZIP Code

         Business name and address                    Describe the nature of the business        Employer Identification number
 25.4. Hassell 2012 Joint Venture                                                                Do not include Social Security number or ITIN.
         Name
                                                                                                 EIN: 4      7 – 2      9     8    5    8       4   2
         Street
                                                                                                 Dates business existed

                                                                                                 From                       To
         City                    State   ZIP Code




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                          Case 18-33619 Document 20 Filed in TXSB on 09/09/18 Page 13 of 15
Debtor        R. Hassell Builders, Inc.                                                      Case number (if known)      18-33619
              Name

26. Books, records, and financial statements

    26a.     List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

                 None

                 Name and address                                                                    Dates of service

      26a.1. Tammy Sequeira - Ladell CFO Services                                                    From                      To
                 Name
                 12218 Jones Rd. D230
                 Street
                 Houston, Tx. 77070

                 City                                          State       ZIP Code

                 Name and address                                                                    Dates of service

      26a.2. Terry Maxwell- Maxwell & Bain                                                           From                      To
                 Name
                 PO Box 12919
                 Street
                 Houston, Tx 77217

                 City                                          State       ZIP Code

    26b.     List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial
             statement within 2 years before filing this case.

                 None

    26c.     List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

                 None

                 Name and address                                                                 If any books of account and records are
                                                                                                  unavailable, explain why
         26c.1. R. Hassell Holding Inc & Royce Hassell
                 Name
                 12807 Haynes Rd. Bldg C
                 Street
                 Houston Tx 77066

                 City                                          State       ZIP Code

    26d.     List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a
             financial statement within 2 years before filing this case.

                 None

                 Name and address

      26d.1. Only consolidated statements issued
                 Name

                 Street




                 City                                          State       ZIP Code




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                       Case 18-33619 Document 20 Filed in TXSB on 09/09/18 Page 14 of 15
Debtor          R. Hassell Builders, Inc.                                                Case number (if known)    18-33619
                Name

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

         No.
         Yes. Give the details about the two most recent inventories.

         Name of the person who supervised the taking of the inventory                           Date of          The dollar amount and basis
                                                                                                 inventory        (cost, market, or other basis)
                                                                                                                  of each inventory

         None

         Name and address of the person who has possession of inventory records

 27.1.
         Name

         Street




         City                                               State        ZIP Code

28. List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders,
    or other people in control of the debtor at the time of the filing of this case.


Name                                    Address                                     Position and nature of any interest      % of interest, if any

Royce J. Hassell                        12807 Haynes Rd, Bldg. C                    President & Director
                                        Houston, Tx. 77066
Terry Tauriello                         12807 Haynes Rd., Bldg. C                   EVP                                                0%
                                        Houston, Tx 77066
Cynthia Grooms                          12807 Haynes Rd., Bldg C                    Secretary                                          0%
                                        Houston, Tx. 77066
Silvia T. Hassell                       12807 Haynes Rd., Bldg. C                   Director
                                        Houston, Tx. 77066
29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners,
    members in control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

         No
         Yes. Identify below.

Name                                    Address                                     Position and nature of     Period during which position
                                                                                    any interest               or interest was held
None                                                                                                           From               To




Official Form 207                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 14
                       Case 18-33619 Document 20 Filed in TXSB on 09/09/18 Page 15 of 15
Debtor          R. Hassell Builders, Inc.                                                  Case number (if known)       18-33619
                Name

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
    bonuses, loans, credits on loans, stock redemptions, and options exercised?

         No
         Yes. Identify below.

         Name and address of recipient                  Amount of money or description         Dates              Reason for
                                                        and value of property                                     providing the value


 30.1. None
         Name

         Street




         City                    State   ZIP Code

         Relationship to debtor



31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

         No
         Yes. Identify below.

Name of the parent corporation                                                    Employer Identification number of the parent corporation
The R. Hassell Holding Companies Inc.                                             EIN: 7     6 – 0       6    5     7    7   3     3
32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

         No
         Yes. Identify below.

 Part 14:         Signature and Declaration
WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 09/09/2018
            MM / DD / YYYY
X /s/ Royce Hassell                                                          Printed name Royce Hassell
   Signature of individual signing on behalf of the debtor

   Position or relationship to debtor Royce Hassell


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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